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           UNITED PEOPLE'S ACTION                                                          Albert Burks Co-Chairman
           CHAMBER OF COMMERCE INC. (UPACC)                                                           'hi<.'1. 1:,cl:uti,..:
     Oflii:cr
           (800) 586-2285   FAX#:(815) 664-3351
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     _Media Communications I United People's Action Chamber of Commerce. Inc. (UPACC)       Website: upaccinc.us
     March I, 2024


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         Sonya Davis
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            975 Seven Hills Dr. Unit 1222                                                               MAR 1 4 �024 IL,,
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         Email: Sec. l 958(a),yahoo.com                                                       THOMAS G BRUTON
         Phone: (800) 586-5012 ext.: 813                                                    CLERK, U.S. DISTRICi COORr

     Attn: Jane Sherburne                                          Attn: David C. Darnell/ Vice Chairman
     General Counsel NCI-007-57-25                                       Bank of America Corp.
     Bank of America                                                    42nd Street and Sixth Avenue
     Bank of America Corp.                                              New York, New York I 0007
     I 00 N. Tryon St.
     Charlotte, NC 28255-000 I

     Attn: Fraud Dept./Legal Dept.                            The Office of the Comptroller of Currency
     The Bank of New York Mellon                                        400 7 th St. SW
     One Wall Street                                                    Washington D.C. 20500
     New York, New York 10286

     CC: United States District Court                               U.S. Department of Justice
         Northern District of Illinois                              Office of the Inspector General
         Eastern Division Case# 2017- CV- 07714                     Fraud Detection Office
         Attn: Honorable Charles P. Kocoras                          1300 N. 171h St. Suite # 3200
        C /ta rry;-ef_ : cl �n'oS-                                   Arlington VA 22209

         Attn: Fraud/Legal Dept.                                  Federal Deposit Insurance Corporation
             JP Morgan Chase & Co.                                  Division of Finance
             New York, NY I 0017                                    3501 North Fairfax Drive
                                                                     Building E, 5th floor
                                                                    Arlington, VA 22226


     U.S. Department of Justice                          Robert C. Weaver Federal Building
     Office of the Inspector General                     U.S. Dept. of Housing and Urban Development
     Fraud Detection Office                                  451 7th Street S. W.,
     1300 N. 17 th St. Suite# 3200                         Washington, DC 20410
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